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                                                                   ;N"iRA DISTRICT OF CALIFORNIA
   4                                                                                     DEPU"IY


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   6                         UNITED STATES DISTRICT COURT
   7                       CENTRAL DISTRICT OF CALIFORNIA
   8
       UNITED STATES OF AMERICA,
   9

  10                               Plaintiff,        CASE NO.         zt -~3or M~
  11

  12                                                  ORDER OF DETENTION
                Sys Cor'T~-~~R I`~S
  13

  14                               Defendant.
  15

  16                                                  I.
  17       A.() On motion of the Government in a case allegedly involving:
  18            1.()    a crime of violence.
  19           2.()     an offense with maximum sentence of life imprisonment or death.
  20           3. O     a narcotics or controlled substance offense with maximum sentence ',
  21                    often or more years .
  22           4. O     any felony -where the defendant has been convicted of two or more ~,
  23                    prior offenses described above.
  24           5. O     any felony that is not otherwise a crime of violence that involves a 'I
  25                     minor victim, or possession or use ofa firearm or destructive device
  26                    or any other dangerous weapon, or a failure to register under 18
  27                    U.S.0 § 2250.
  28       B.(~       On motion by the Government /( )on Court's own motion, in a case

                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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     1                        allegedly involving:
    2              (~         On the further allegation by the Government of:
    3                1. (1~      a serious risk that the defendant will flee.
    4               2.()         a serious risk that the defendant will:
    5                      a.()obstruct or attempt to obstructjustice.
    6                      b.()threaten, injure, or intimidate a prospective witness or juror or
                                 attempt to do so.
    8           C. The Government()is/(x)is not entitled to a rebuttable presumption that no
    9I               condition or combination ofconditions will reasonably assure the defendant's
   10 'Ii            appearance as required and the safety of any person or the community.
   11

   12                                                        II.
   13           A.() The Court finds that no condition or combination of conditions will
   14                         reasonably assure:
   15                1.() the appearance ofthe defendant as required.
   16                  () and/or
   17               2.() the safety of any person or the community.
   18           B.() The Court finds that the defendant has not rebutted by sufficient
   19                         evidence to the contrary the presumption provided by statute.
  20

  21                                                        III.
  22            The Court has considered:
  23            A. the nature and circumstances ofthe offenses)charged, including whether the
  24                offense is a crime ofviolence,a Federal crime ofterrorism, or involves a minor
  25                 victim or a controlled substance, firearm, explosive, or destructive device;
  26            B. the weight ofevidence against the defendant;
  27            C. the history and characteristics of the defendant; and
  28            D. the nature and seriousness ofthe danger to any person or to the community.

                                      ORDER OF DETENTION AFTER HEARING(18 U.S.C.§3142(1))

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    1                                                         IV.
    2           The Court also has considered all the evidence adduced at the hearing and the
    3           arguments and/or statements of counsel, and the Pretrial                       Services
    4           Report/recommendation.
    5

    6                                                          V.
    7           The Court bases the foregoing findings) on the following:
    8           A. ~)         As to flight risk:
    91                     ~rs..~ ~,.~,~~r b~,l                ~~ r~ -mss
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  16           B. (j~         As~d~
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  24                                                          VI.
  25            A. ()         The Court finds that a serious risk exists that the defendant will:
  26                       1. ()obstruct or attempt to obstruct justice.
  27                       2. ()attempt to/ ( )threaten, injure or intimidate a witness or juror.
  28

                                       ORDER OF DETENTION AFTER HEARING (16 U.S.C. §3142(i))                      ',

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              B. The Court bases the foregoing findings) on the following:
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   9                                                    VII.
  10 '.

  11          A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
  12          B. IT IS FURTHER ORDERED that the defendant be committed to the custody
  13               ofthe Attorney General for confinement in a corrections facility separate, to
  14               the extent practicable, from persons awaiting or serving sentences or being
  15               held in custody pending appeal.
  16          C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
  17               opportunity for private consultation with counsel.
  18          D. IT IS FURTHER ORDERED that, on order ofa Court ofthe United States
  19              or on request of any attorney for the Government,the person in charge ofthe
  20              corrections facility in which the defendant is confined deliver the defendant
  21              to a United States marshal for the purpose of an appearance in connection
  22               with a court proceeding.
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  26      DATED:          1 ~ 1301 ~~~                    ~ C
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  27

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                                  ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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